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UN|TED STATES D|STRi-CT COURT _
FOR THE "
WESTERN D|STR|CT OF TENNESSEE
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VS.

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JAMA|NE MARDELL T|PLER

APPL|CATION. ORDER and WR|T FOR HABEAS CORPUS AD PROSEQUENDUM
The United States Attorney’s Office applies to the Court for a Writ to have JAMA|NE MARDELL

T|PLER, now being detained in the Chester County Jaii, Henderson, Tennessee, appear before

|V|agistrate Thomas Anderson on the Bq%` day of A\)`(bUS-"_ , 2005 for an Appearance and

for such other appearances as this Court may direct g?/.O§p

 
 
  

Respectfu||y submitted this 16th day of August, 2005.
,/ deny RMEhen“
<i// Assistant U. S. Attorney

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Upon consideration of the foregoing App!ication, David Jo||ey, U.S. Marsha|, Western District
of Tennessee, Memphis, TN Sheriff/Warden, Chester County Jai|, i-|enderson, Tennessee.

YOU ARE HEREBY COi\/||V|ANDED to have JAMA|NE MARDELL TlPLER appear

before the |\/Iagistrate Thomas Anderson at the date and time aforementioned.

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UNITED STATES i\/|AG|STRATE JUDGE

    

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
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August 17, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

